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                                  NOTICE OF HEARING




                  UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT



United States of America

       v.                                        Case No. 5:22-cr-58-1

Serhat Gumrukcu



TAKE NOTICE that the above-entitled case has been scheduled at 11:00 a.m. on Friday, March
24, 2023 in Burlington, Vermont, before Honorable Geoffrey W. Crawford, District Judge, for
an Arraignment on the Third Superseding Indictment via video conference.


Location: via video conference                          JEFFREY S. EATON, Clerk
                                                        By: /s/ Emerson Howe
                                                        Deputy Clerk
                                                        3/21/2023

TO:

Jonathan Ophardt, AUSA
Paul J. Van de Graaf, AUSA

Lisa B. Shelkrot, Esq.
Susan K. Marcus, Esq.

Sunnie Donath, Court Reporter
